107 F.3d 861
    John Cavicchiov.Washington Township, its Agents, Servants and Employees,Officer William Flaherty, as Agent, Servant and Employee ofWashington Township Police Department, Gloucester CountyFederal Savings and Loan; John Cavicchio v. Washington, itsAgents, Servants and Employees, Officer William Flaherty, asAgent, Servant and Employee of Washington Township PoliceDepartment, Gloucester County Federal Savings and Loan
    NO. 96-5398
    United States Court of Appeals,Third Circuit.
    Feb 26, 1997
    Appeal From:  D.N.J. ,No.94cv04450
    
      1
      Affirmed.
    
    